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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




UNITED STATES OF AMERICA,                      :     CASE NO.        1:06-cr-00401
                                               :
                       Plaintiff,              :     JUDGE LESLEY WELLS
                                               :
               v.                              :
                                               :     MAGISTRATE JUDGE
LEANDER WILLIAMS,                              :     NANCY A. VECCHIARELLI
                                               :
                       Defendant.              :     REPORT & RECOMMENDATION



       Pursuant to General Order 99-49, this matter has been referred to United States Magistrate

Judge Nancy A. Vecchiarelli for purposes of receiving, on consent of the parties, the defendant’s

offer of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a

verbatim record of the proceedings to be prepared, referring the matter, if appropriate, for

presentence investigation, and submitting a Magistrate Judge’s Report and Recommendation stating

whether the plea should be accepted and a finding of guilty entered. The following, along with the

transcript or other record of the proceedings submitted herewith, constitutes the Magistrate Judge’s

Report and Recommendation concerning the plea of guilty proffered by the defendant.

       1.      On December 14, 2006, the defendant, accompanied by counsel, proffered a plea of

               guilty to count 2 of the indictment. The Government agrees to dismiss counts 1 and

               3 of the indictment at the time of sentencing.
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       2.     Prior to such proffer, the defendant was examined as to his competency, advised of

              the charge and consequences of conviction, informed that the Federal Sentencing

              Guidelines are advisory and the Court must consider them but the Court may impose

              any reasonable sentence authorized by law, notified of his rights, advised that he was

              waiving all his rights except the right to counsel and otherwise was provided with the

              information prescribed in Fed. R. Crim. P. 11.

       3.     The parties and counsel informed the court about the plea agreement between the

              parties; the undersigned was advised that, aside from such agreement as described

              or submitted to the court, no other commitments or promises have been made by any

              party, and no other agreements, written or unwritten, have been made between the

              parties.

       4.     The undersigned questioned the defendant under oath about the knowing, intelligent,

              and voluntary nature of the plea of guilty, and finds that the defendant was competent

              to enter a plea and the plea was offered knowingly, intelligently, and voluntarily.

       5.     The parties provided the undersigned with sufficient information about the charged

              offense(s) and the defendant’s conduct to establish a factual basis for the plea.

       In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and all requirements imposed by the




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United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.




                                                    s/ Nancy A. Vecchiarelli
                                                    NANCY A. VECCHIARELLI
                                                    UNITED STATES MAGISTRATE JUDGE



DATE: December 14, 2006




                                           NOTICE
       Any objections to this Report and Recommendation must be filed with the Clerk of
Courts within ten (10) days of this notice. Failure to file objections within the specified
time may waive the right to appeal the District Court’s order. see, United States v. Walters,
638 F.2d 947 (6th Cir. 1981). See, also, Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied,
474 U.S. 1111 (1986).




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